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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 16-349V
                                    Filed: December 30, 2016

* * * * * * * * * * * * * * *                             UNPUBLISHED
CANDACE L. HOLMES,                         *
                                           *              Special Master Hamilton-Fieldman
              Petitioner,                  *
                                           *
 v.                                        *              Attorney’s Fees and Costs;
                                           *              Unopposed
                                           *
SECRETARY OF HEALTH                        *
AND HUMAN SERVICES,                        *
                                           *
              Respondent.                  *
* * * * * * * * * * * * * * *
Nancy R. Meyers, Ward Black Law, Greensboro, NC, for Petitioner.
Claudia Gangi, United States Department of Justice, Washington, DC, for Respondent.


               DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On March 17, 2016, Candace L. Holmes (“Petitioner”) filed a petition for compensation
under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 et seq. (2006)
(“Vaccine Act”). Petitioner alleged that the administration of a trivalent influenza (“flu”) vaccine
on January 14, 2015 caused her to develop pseudotumor cerebri. Pet. at 1-2, ECF No. 1. On
December 19, 2016, Petitioner submitted an Unopposed Motion for Attorneys’ Fees and Costs.
ECF No. 21. The undersigned, finding that the motion is unopposed and the fees requested are
reasonable, hereby awards Petitioner the compensation requested in her motion for attorneys’ fees.

       On December 27, 2016, the parties submitted a Stipulation of Dismissal. ECF No. 23. An
Order Concluding Proceedings Pursuant to Vaccine Rule 21(a) was entered on December 29, 2016.
ECF No. 24. On December 19, 2016, Petitioner submitted an Unopposed Motion for Attorneys’
Fees and Costs. ECF No. 21. Petitioner requested an award of $11,035.00 for fees and $843.50

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  Because this unpublished decision contains a reasoned explanation for the action in this case,
the undersigned intends to post this decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 and note (2006)). In accordance with
Vaccine Rule 18(b), a party has 14 days to identify and move to delete medical or other
information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule
requirement, a motion for redaction must include a proposed redacted decision. If, upon review,
the undersigned agrees that the identified material fits within the requirements of that provision,
such material will be deleted from public access.
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for costs, totaling $11,878.50. Respondent did not object to this request, finding it reasonable.
Petitioner noted, “Respondent’s lack of objection to the amount sought in this case should not be
construed as an admission, concession, or waiver as to the hourly rates requested, the number of
hours billed, or the other litigation related costs.”

        Therefore, in accordance with the Vaccine Act, 42 U.S.C. § 300aa-15(e) (2012), the
undersigned has reviewed the billing records and costs in this case and finds that Petitioner’s
request for fees and costs is reasonable. Accordingly, the undersigned hereby awards the
amount of $11,878.50, in the form of a check made payable jointly to Petitioner and
Petitioner’s counsel, Nancy R. Meyers, of Ward Black Law, for attorneys’ fees and costs. In
the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the court shall
enter judgment in accordance herewith.2



       IT IS SO ORDERED.

                                                    /s/Lisa D. Hamilton-Fieldman
                                                    Lisa D. Hamilton-Fieldman
                                                    Special Master




2
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).
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